                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                     )         COLLIER/CARTER
                                             )
       v.                                    )         CASE NO. 1:14-CR-45
                                             )
YERBEL A. CABALLERO-MEJIA                    )


                                           ORDER

       On June 16, 2014, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

included offense in Count Two of the Indictment, Aiding and Abetting in the Possession with

Intent to Distribute Methamphetamine, a Schedule II controlled substance, in violation of 21 USC

'' 841(a)(1) and (b)(1)(C) and 18 USC § 2, in exchange for the undertakings made by the

government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges

set forth in the lesser included offense in Count Two of the Indictment; (c) that a decision on

whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall remain

on bond pending sentencing in this matter (Court File No. 58). Neither party filed an objection

within the given fourteen days. After reviewing the record, the Court agrees with the magistrate

judge=s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

magistrate judge=s report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as

follows:

       (1) Defendant=s plea of guilty to the lesser included offense in Count Two of the

Indictment, Aiding and Abetting in the Possession with Intent to Distribute Methamphetamine, a

Schedule II controlled substance, in violation of 21 USC '' 841(a)(1) and (b)(1)(C) and 18 USC §

2, in exchange for the undertakings made by the government in the written plea agreement, is



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ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of a lesser included offense in Count Two of

the Indictment, Aiding and Abetting in the Possession with Intent to Distribute Methamphetamine,

a Schedule II controlled substance, in violation of 21 USC '' 841(a)(1) and (b)(1)(C) and 18 USC

§ 2, a lesser included offense in Count Two of the Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and

       (4) Defendant SHALL REMAIN ON BOND pending sentencing on Thursday,

September 25, 2014, at 9:00 am.

       SO ORDERED.

       ENTER:
                                            /s/
                                            CURTIS L. COLLIER
                                            UNITED STATES DISTRICT JUDGE




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